J\O 399 tot/fm \vui~er ni‘ the Servieo ofswmtons

UI~nTED‘ STATES DISTRICT CQURT

. for- the
> Eastcm bistrict of Wisconsin

Brian G. Heyar

 

 

l’lat`nt§()' g l
v. ) C.ivil Action No. 19‘9“'5
Experian information Solutions. lnc;. at at. )
Dnji!m!ant )

v

WA|VER OF THE SERVICE' CF SUMMONS

To; Brian G. Heyer
(Nom aft!rclplninxfa"s attaway or unrepresented plaint(@)

 

t have receivgd your request to waive service oi`.a summons in this action along with a copy ofthe complaint,
two copies of this waiver form,, and a' prepaid means¢oi’ returning one signed copy of the form to you.

l, or the entity l represent, agree to save ti_tc expense of'scrving a summons and complaint in this case.

v t understand that i, or the entity l represent, witt keep ali defenses 'ot' objections to the iawsuit, tire court’s
jurisdiction and the venue of the nction, but that l waive any objections to the absence ot`a summons or ofservice._

l also understand that l, ortho entity l represent, must file and serve an answer or a motion under Rnte‘ 12 within
60,days from .-`.`S"'» u°\,z»\q , the date when this request was sent (or 90 days if it was'sent outside the
United States).` if l fail to do `so, a defauitjudgrnent \viil be entered against me or the entity t represent

. z “""\

l

    

Date;f Februat_'y_ 6, 2019

 

]ennifer Sun §‘~K\Sig arm oyd§;ali `mudnpmemedparn'»
E j

Attorneys for D§: endant ian Information Solutions, Inc.

 

 

Prln!ed name d'parly tvaivin,g service nfsummam" Prinlad name

lones Day
3161 Michelson Drive, Suite 800
Irvine, CA 92612

 

 

 

Ad¢h~e::
,iennifersun@ionesdav.com
E-'nral! addmsx
(949) 851-3939 '
w 7 ?‘elepitono number t

 

Doty to Avoid Unne¢essnry Expenses of Serving n Surnmons
Ruio4 ot`thc chemi Rntcs ofCivii ?roucdme ro%uircs certain defendants tn,coopcrotc in saving unnecessary expenses ot`scrvingnsummon§,
nnd'compiuint. A defendant who is located in tim Unitcd laws and who fails to return o signed waiver oi`sorvicc requested by o plaintiff incntcd in
the Unitod Statcs witt bu'rcnnin':d to pay the expenses of scrvicc, unless the defendant shows~good cause forma fni|um.»

. ’ “Good consci’ dues nut include a bciici`thnt the lawsuit is groundless, or that it ims noon bmught in unimme voan or that the court has
nojnrisdictinn over this matter or over the defendant ortho defendant's propeny.‘

it'thc waiver is signed unit rotumcd, you run stili‘mnitc those and all other defenses and nbjcotions,` but you cannot object to the absentee of"
`a summons or nfsr:n'icc.

ifyou waive scrvicc, then you must, within thc time specified on the woin t'nnn, serve nn answororo motion under Ruio l2 on tire plaintill'
and tile n copy with thc court. By signing and returning tim waiver t`orm, you nrc uiiowcd mont time to respond than ira summons had been served

Case 1:19-cV-00015-WCG Filed 03/01/19 Page 1 of 1 Document 13

